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STEPHEN R. HARRIS, ESQ.
Nevada Bar No. 001463

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Attorneys for Debtor

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

IN RE:

JULIANA MAYER LOZA,

Debtor.

 

Kk ok

CASE NO. BK-21-50466-btb
(Chapter 13)

DECLARATION OF STEPHEN R.
HARRIS, ESQ. IN SUPPORT OF THE
DEBTOR’S MOTION FOR
SANCTIONS AGAINST LEVERTY &
ASSOCIATES LAW, CHTD. AND
ALLIED FORECLOSURE SERVICES
FOR WILLFUL VIOLATION OF THE
§362(a) AUTOMATIC STAY AND TO
DECLARE FORECLOSURE SALE
VOID AB INITIO

Hearing Date: OST Requested
Hearing Time:

I, Stephen R. Harris, hereby declare under penalty of perjury that:

1. I am over eighteen years of age and have personal knowledge of the facts set forth
herein, and if called as a witness would testify competently with respect thereto from my own
personal knowledge except as otherwise stated.

2. I am an attorney at law admitted to practice before this Court and I am an attorney

with HARRIS LAW PRACTICE LLC, located at 6151 Lakeside Drive, Suite 2100, Reno, Nevada

89511.

 
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Os I represent JULIANA MAYER LOZA (“Debtor”) in the above-captioned
bankruptcy proceeding. I filed a voluntary petition for Chapter 13 reorganization relief on behalf
of the Debtor in the early evening of June 22, 2021.

4. After the Debtor’s bankruptcy filing, I emailed letters to a representative of
Leverty & Associates Law, CHTD. and to a representative of Allied Foreclosure Services to
notify them of the Debtor’s Chapter 13 bankruptcy filing and the provisions of the 11 U.S.C.
Section 362(a) automatic stay. The reason for the immediate email notice was that Allied
Foreclosure Services was scheduled to conduct a trustee’s foreclosure sale for a deed of trust held
by Leverty & Associates Law, CHTD., on the Douglas County Courthouse steps, County of
Douglas, State of Nevada, on June 23, 2021, at 1:00 p.m., with respect to the Debtor’s real
property residence located at 429 Panorama Drive, Stateline, Nevada 89449.

5. Given my email notice to Leverty & Associates Law, CHTD. and email notice to
Allied Foreclosure Services, and after receiving an email response from Bill Ginn, Esq., an
attorney with Leverty & Associates Law, CHTD., Allied Foreclosure Services still conducted the
trustee’s foreclosure sale even though the 11 U.S.C. Section 362(a) automatic stay was in place.

6. On June 24, 2021, on behalf of the Debtor, I filed the DEBTOR’S MOTION FOR
SANCTIONS AGAINST LEVERTY & ASSOCIATES LAW, CHTD. AND ALLIED
FORECLOSURE SERVICES FOR WILLFUL VIOLATION OF THE § 362(a) AUTOMATIC
STAY AND TO DECLARE FORECLOSURE SALE VOID AB INITIO (Docket No. 7)
(“Motion”). Exhibits A through F attached to the Motion are true and correct to the best of my
knowledge.

Executed under penalty of perjury this 24" day of June, 2021.

 

 

Attorneys for Debtor V

 
